Case 1:19-cv-00578-JM¢-RT Document 92-17 Filed 05/28/£1 Page 1 of 4 PagelD.829

LAWS OF MISSOURI

PASSED AT THE SESSION OF THE

Fifty-First General Assembly

WHICH CONVENED AT THE

City of Jefferson

WeEpvNESDAY, JANUARY 5S, 1921

(By Authority)

COMPILED BY
Cuar_es U. BECKER,
SECRETARY OF STATE

In compliance with section 7068
Revised Statutes, 1989.

EXHIBIT “P”
Case 1:19-cv-00578-JM€-RT Document 92-17 Filed 05/28/81 Page 2 of 4 PagelD.830

REGULATION OF SALE AND POSSESSION. 691

supervision of such training and appoint such assistants as may
be necessary to administer said act, and fix their compensation;
(4) to direct the disbursement and administer the use of all funds
provided by the federal government and allotted for the voca-
tional rehabilitation of such persons.

Sec. 4. Shall formulate plan of co-operation.—It shall be
the duty of the state board for vocational education to formulate
a plan of co-operation in carrying out the provisions of this act
and of said act of congress, with Missouri workmen’s compensa-
tion commission. .

Sec. 5. Authorized and empowered to receive gifts and
donations—to be reported to the general assembly.—The state
board for vocational education is hereby authorized and em-
powered to receive such gifts and donations, either from public
or private sources,-as may be offered unconditionally or under
such conditions related to the vocational rehabilitation of
persons disabled in industry or otherwise and consistent with the
provisions of this act. All moneys received as gifts or donations
shall be deposited in the state treasury and shall constitute a
permanent fund to be called the special fund for the vocational
rehabilitation of disabled persons, to be used by the said board to
defray the expenses of vocational rehabilitation in, special cases,
including the payment of necessary expenses of persons under-
going training. A full report of all gifts and donations offered
and accepted, together with the names of the donors and the
respective amounts contributed by each, and all disbursements
therefrom shall be submitted biennially to the general assembly.

Sec. 6. Emergency.—On account of there being many per-
sons in the state needing vocational rehabilitation, and that there
are now federal funds available for this purpose an emergency
exists within the meaning of the Constitution; therefore this act
shall take effect and be in force from and after its passage and
approval.

Approved April 7, 1921.

[H. B. 168.)
WEAPONS, FIREARMS: Regulation of Sale and Possession.

AN ACT to provide for the public safoty by requiring cach pistol, revolver or other firearm
of a size which may be concealed upon the person, to be stamped with the description of
the same, and a record of all sales thereof to be kept by all dealers thercin, and regulating
the buying, selling; borrowing, loaning, giving away, trading, bartering, delivering or
recciving of such weapons, and prescribing punishments for the violation thereof, and
with an emergency clause.

SECTION SECTION
1. Pistol, revolver or firearms to be 5. Punishment for violation.
plainly marked. 6. Validity of remaining sections not
2. Shall secure permit to acquire weapon. affected.
3. Weapons must be stamped. 7. Emergency clause,
4, Manufacture not prohibited.
Case 1:19-cv-00578-JM$¢-RT Document 92-17 Filed 05/28/f1 Page 3 of 4 PagelD.831

692 WEAPONS, FIREARMS.

Be it enacted by the General Assembly of the State of Missouri, as follows:

Section 1. Pistol, revolver or firearms to be plainly marked.
No wholesaler or dealer therein shall have in his possession for
the purpose of sale, or shall sell, any pisto], revolver, or other
firearm of a size which may be concealed upon the person, which
does not have plainly and permanently stamped .upon the
metallic portion thereof, the trademark or name of the maker,
the model and the serial factory number thereof, which number
shall not be the same as that of any other such weapon of the
same model made by the same maker, and the maker, and no
wholesale or retail dealer therein shall have in his possession for
the purpose of sale, or shall sell], any such weapon unless he keep
a full and complete record of such description of such weapon,
the name and address of the person from whom purchased and to
whom sold, the date of such purchase or sale, and in the case of
retailers the date of the permit and the name of the circuit clerk
granting the same, which record shall be open to inspection at
all times by any police officer or other peace officer of this state.

Sec. 2. Shall secure permit to acquire weapon.—-No person,
other than a manufacturer or wholesaler thereof to or from a
wholesale or retail dealer therein, for the purposes of commerce,
shall directly or indirectly buy, sell, borrow, loan, give away,
trade, barter, deliver or receive, in this state, any pistol, revolver
or other firearm of a size which may be concealed upon the person,
unless the buyer, borrower or person receiving such weapon
shall first obtain and deliver to, and the same be demanded and
received by, the seller, loaner, or person delivering such weapon,
within thirty days after the issuance thereof, a permit authorizing
such person to acquire such weapon. Such permit shall be
issued by the circuit clerk of the county in which the applicant
for a permit resides in this state, if the sheriff be satisfied that the
person applying for the same is of good moral character and of
lawful age, and that the granting of the same will not endanger
the public safety. The permit shall recite the date of the issuance
thereof and that the same is invalid after thirty days after the
said date, the name and address of the person to whom granted
and of the person from whom such weapon is to be acquired, the
nature of the transaction, and a full description of such weapon,
and shall be countersigned by the person to whom granted in the
presence of the circuit clerk. The circuit clerk shall receive there-
for a fee of $0.50. If the permit be used, the person receiving the
same shall return it to the circuit clerk within thirty days after
its expiration, with a notation thereon showing the date and
manner of the disposition of such weapon. The circuit clerk shall
keep a record of all applications for such permits and his action
thereon, and shall preserve all returned permits. No person shall
in any manner transfer, alter or change any such permit or make
a false notation thereon or obtain the same upon any false repre-
sentation to the circuit clerk granting the same, or use or attempt
to use a permit granted to another.
Case 1:19-cv-00578-JME-RT Document 92-17 Filed 05/28/f1 Page 4 of 4 PagelD.832

REGULATION AND SALE OF POSSESSION. 693

Sec. 3. Weapons must be stamped.—No person within
this state shall lease, buy or in anywise procure the possession
from any person, firm or corporation within or without the state,
of any pistol, revolver or other firearm of a size which may be
concealed upon the person, that is not stamped as required by
section 1 of this act; and no person shall buy or otherwise acquire
the possession of any such article unless he shall have first pro-
cured a written permit so to do from the circuit clerk of the county

in which such person resides, in the manner as provided in section
2 of this act.

Sec. 4. Manufacture not prohibited..-Nothing herein con-
tained shall be considered or construed as forbidding or making
it unlawful for a dealer in or manufacturer of pistols, revolvers
or other firearms of a size which may be concealed upon the
person, located in this state, to ship into other states or foreign

countries, any such articles whether stamped as required by this
act or not so stamped.

Sec. 5. Punishment for violation.—Any person, its or his
directors, officers, agents or servants, convicted of violating any:
of the provisions of this act, shall be punished by imprisonment
in the penitentiary for not more than five years, or by imprison-
ment in the county jail not less than six months, or by a fine not
less than fifty dollars nor more than five thousand dollars, or by
both fine and imprisonment in the county jail.

Sec. 6. Validity of remaining sections not affected.—lf
any section, subsection, sentence, clause or phrase of this act is
for any reason held to be unconstitutional, such decision shall not
affect the validity of the remaining portions of this act. The
general assembly hereby declared that it would have passed this
act and each section, subsection, sentence, clause and phrase
thereof, irrespective of the fact that any one or more of the same
shall be declared unconstitutional.

Sec. 7. Emergency clause.— There being no adequate law
governing the stamping, recording, sale and other disposition of
weapons as described herein, creates an emergency within the
meaning of the Constitution; therefore this act shall take effect
and be in force from and after its approval.

Approved April 7, 1921.
